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                       EXHIBIT A
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                                     III.    INTERROGATORIES

 Interrogatory No. 1:

 State in detail the development, implementation, and updates to the Network Architecture(s) that
 pertain to or enable the Accused Functionality in the United States. Your answer should identify
 the persons involved in designing and implementing the relevant Network Architecture
 components, the relevant dates (including when the decision was made to implement the Accused
 Functionality, when the Accused Functionality was actually implemented, and any development
 milestones in between), why You decided to implement the Accused Functionality, and a narrative
 description explaining the interrelationship between the relevant Network Architecture
 components that operate to enable the Accused Functionality.

 Interrogatory No. 2:

 Identify, by name and model number (including any third party vendor name, any internal or third
 party model number(s) and/or any commercial name(s)), all hardware and/or software components
 in any Network Architecture made, sold, operated, utilized, or otherwise provided by You that
 implements, in whole or part, the Accused Functionality in the United States. For each component
 identified, please identify (a) the cellular network standard(s) (e.g., 4G, 4G LTE, 5G) for which
 the component is utilized; (b) how the component contributes to implementation of the Accused
 Functionality in Your network; (c) the manufacturer of the component; (d) the date on which the
 component was installed in Your network; (e) the date on which the component was removed from
 Your network (if applicable); (f) the date(s), if any, on which any software on the component was
 installed, updated and/or changed, and the version number(s) for any such software; and (g) to the
 extent You contend any such installation, update and/or change impacts whether or not the
 component practices any elements of the Asserted Claims, please provide any factual basis for that
 contention.

 Interrogatory No. 3:

 With respect to each component identified by You in response to interrogatory number 2, identify
 all costs associated with the component, including, but not limited to, all upfront costs, all ongoing
 costs, and all maintenance costs.

 Interrogatory No. 4:

 Identify the date that You contend is the date for the hypothetical negotiation under Georgia-
 Pacific Corp. v. U.S. Plywood Corp. and describe why You contend that is the proper date.

 Interrogatory No. 5:

 Identify every entity that You have asserted has an obligation to indemnify You for damages, costs,
 and/or fees related to this lawsuit, and identify all documents (e.g., letters, emails, agreements)
 relating to that indemnity by Bates number.


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